ATTORNEY AT LAW
810 W. 2"? AVENUE

CHARLES W. COE
ANCHORAGE, ALASKA $9601

_ COPY
Original Received
OCT 17 2097

| | Clerk of the Trial Counts
IN THE SUPERIOR COURT FOR THE STATE OF ALASKA
THIRD JUDICIAL DISTRICT AT ANCHORAGE

MATILDA FREE,
Plaintiff,
lv.
WAL-MART STORES, INC., d/b/a
WAL-MART,
Case No. 3an-17-G2F PRS __ Ci
Defendant.

 

(907) 276-6173

 

 

 

COMES NOW, the plaintiff, MATILDA FREE, by and through her attorney,
CHARLES W. COE, ti state and allege the following as her cause of action:
1:
Plaintiff, MATILDA FREE, is a resident of Alaska, residing in the Third
Judicial District.
. a

Defendant, WAL-MART STORES, INC., is an out of state corporation,

| doing business at various locations throughout the state of Alaska and is authorized

to do business as a corporation in the state of Alaska.
ir
Defendant is the owner and operator of the store #2070 located 3101 A Street
in Anchorage, Alaska. Defendant, as a corporation and owner/operator of this store,

FREE V. WALMART

RANT Paige 1 of

COMPLAINT

 

Case 3:17-cv-00242-SLG Document 1-1 Filed 11/17/17 Page 1of8

 
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AVENUE

“ATTOR
W.

CHARLES W. COE
Biow. 2
ANCHORAGE, ALASKA 99501
(907) 276-6173

 

is vicariously liable for the acts and omissions of their employees, associates, agents,

and representatives under the theories of respondeat superior, negligent supervision,

| negligence, and negligent entrustment.

IV

All events relevant to the cause of action of this complaint occurred in the

state of Alaska, at Anchorage.

Vv
On or about January 15, 2017, plaintiff was walking into the defendant’s store

through the door at the store’s north entrance. As she was walking, she slipped and

| fell on a wet floor. As a result of slipping and falling on the wet floor she incurred

injuries and damages set out in paragraph XII of this complaint.

VI
The.area where plaintiff fell was to be cleaned, monitored, and maintained by
defendant’s employees and representatives, The defendant’s employees, agénts, and

representatives failed to monitor, clean, and maintain this area, which created a

| hazard to customers, including the plaintiff, using their store.

FREE V, WALMART |
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COMPLAINT

 

 

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(907) 276-6173

 

 

FIRST CAUSE OF ACTION
Vil

Plaintiff hereby realleges and incorporates parapraphs I through VI of this

complaint into this First Cause of Action.

Vill

Defendant owed a duty to keep its aisles and floors in a safe condition free

from hazards and to warn store users of potential hazards. Defendant breached

this duty of care in failing to clean the floor, in failing to properly instire that this

|| section of the store was kept clear of hazards, in failing to inspect monitor,
}| maintain, and correct this safety hazard, in not cleaning the water on the floor, in
not cleaning the walking area where plaintiff slipped and fell, and in not putting .

|.warning signs in the area of the wet floor.

X
Asa résult of the defendant’s negligence the plaintiff incurred the damages
and injuries set forth in paragraph XII of this complaint.
SECOND CAUSE OF ACTION
Plaintiff hereby realleges and incorporates paragraphs | through IX of this

complaint into this Second Cause of Action.

|] PRERV.WALMART —__ |
\|3ant7- CT Pape 3.00

COMPLAINT

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CHARLES W. COE.
ATTORNEY AT LAW
ANCHORAGE, ALASKA 99504

 

xi
Defendant was negligent per se in that its acts and omissions violated its
own standards of maintenance and monitoring their store, As a result of this
negligence per se, plaintiff incurred injuries set forth in paragrapli XII of this
complaint.
XI

As a direct and proximate result of defendant's acts and omissions the

plaintiff suffered the following injuries and damages:

1, Injuries to her arm, neck, back and spine;

2. Medical and medication expenses .in the nat, present, and future:
3. | Past, present, and future physical and emotional pain and suffering: |
4. Loss of enjoyment of life; and

5, Other damapes to be proven at trial.

WHEREFORE, plaintiff prays for judgment in her favor against the
‘defendant for the following:,

a, Compensatory damages to be proven at trial in a sum within the
jurisdiction of the superior court;

b. For pre-judgment and post-judgment interest, costs, and attorney fees;

c. For any other relief this court deems just and equitable.

|| FREE V. WALMART Page 4 ofS

SANIT
COMPLAINT

 

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“

NO AVENUE

\TIORNEY AT LAW

A
810 W. 2

CHARLES W. COE
ANCHORAGE, ALASKA 89501
(907) 276-6173

DATED this 17" day of October, 2017.

CHARLES W. COE
Attomey for Plaintiff

 

 

Charles W. Coe
ABA#7804002

| FREE V. WALMART
3AN-17-
COMPLAINT

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OCT 47 2097

IN THE (SEE SUPERIOR. COURT FOR THE STATE OF ALASKA

 

 

AT ANCHORAGE
MATILDA FREE, 7
Plaintifiis),
VS.
) CASENO. 3AN-17- G46 ch
WAL-MART STORES, INC., d/b/a. SUMMONS AND
ae Defendant(s). NOTICE TO BOTH PARTIES
WAL-MART, dant } OF JUDICIAL ASSIGNMENT

 

To Defendant: REGISTERED AGENT/WAL-MART T STORES INC,, d/b/a WAL-MART

You are hereby.summoned and required to file with the court a written answer to the complaint
which accompanies this summons. Your answer must bé filed with the court at 825 W. 4th Ave.,
Anchorage, Alaska 99501 within 20 days* after the day you.receive this summons. In addition,
a copy of your answer must be sent to the plaintiff ened -or plaintiff (if unrepresented)
CHARLES W. COE , whose 8 is: .

810 W2ND AVENUE, ANCHORAGE ALASKA 99501

If you fail to file your answer within the required time, a default judgment may be entered
against you for the relief demanded in the complaint.

 

If you are not represented by an attorney, you must inform the court and all other parties in this
case, in writing, of your current mailing address and any ‘future changes to your mailing address
and telephone num You may use court form Notice of Change of Jalaress / Telephone
Number (TF-955), available at the clerk’s office or on the court system’s website at
htto://www,courts alaska. gov/forms/index.htm to inform the court,~ OR + H you. have an
attorney, the attomey must comply with Alaska R. Civ. P. 5@).

NOTICE OF JUDICIAL ASSIGNMENT
TO: Plaintiff and Defendant

You are hereby given notice that: --°
[7K This case has been assigned to Superior Court Judge AL

and to 4 magistrate judge.
C1 This case has been assigned to District Court Judge

 

CLERK OF COURT

  

teentty tar on {0h 117 a copy of tis Summons wes (mailed = B givento
() plainiif A pedal Get with a copy of the

E] Domestic Relations ura] Order Civil Pre-Trial Order

to serve on the defen the summons.

Deputy Clerk

* The State or a state officer or agency named as a defendant has 40 days to file its answer, If
you have been served with this summons outside the United States, you also have 40 days to file
your answer.

CIV-100 ANCH (10/13 Nes) Civil Rules 4, 5, 12, 42(¢), 35

SUMMONS

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2), CT Corporation

Service of Process
Transmittal
10/20/2017

CT Log Number 532145674

Ta: Kim Lundy Service of Process, Legal Support Supervisor

Wal-Mart Stores, Inc.

702 SW 8th St, MS#0215

Bentonville, AR 72716-6209

RE: Process Served in Alaska
FOR: Wal-Mart Stores, Inc. (Domestic State: DE)

ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

TITLE OF ACTION:
BOCUMENT(S) SERVED:

COURT/AGENCY:
NATURE OF ACTION:

ON WHOA PROCESS WAS SERVED:
DATE AND HOUR OF SERVICE:
JURISDICTION SERVED +
APPEARANCE OR ANSWER DUE:

ATTORNEY(S) / SENDER(S):

ACTION ITEMS:

TELEPHONE:

Free Matilda, Pitf. vs. Wal-Mart Stores, Inc., etc., Dft.
Summons and Notice, Complaint

Anchorage Superior Court, AK
Case # 3AN179725Cl

Personal Injury - Slip/Trip and Fall - 01/15/2017 - Store #2070 located 3101 A Street
in Anchorage, Alaska

C T Corporation System, Juneau, AK

By Certified Mail on 10/20/2017 postmarked on 10/18/2017
Alaska

Within 20 Days after receipt

Charles W, Coe

810 W. 2nd Avenue
Anchorage, AK 99501
907-276-6173

CT has retained the current log, Retain Date: 10/20/2017, Expected Purge Date:
10/25/2017

Image SOP
Email Notification, Kim Lundy Service of Process ctlawsuits@walmartlegal.com

C T Corporation System
9360 Glacier Highway
Suite 202

Juneau, AK 99801
360-357-6794

Page 1 of 1/ DR

‘Information displayed on this transmittal is for CT
Corporation's record keeping purposes only and ts provided ta
‘the recipient for quick reference. This information does nat
constitute a legal opinion as to the nature-of action, the
‘amount.of damages, the answer date, or any information
‘contatned in the documents themselves, Recipient fs
responsible for Interpreting sald documents and for taking
‘appropriate action. Signatures on certified mail receipts
confirm receipt of package onty, not contents,

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